510 F.2d 598
    UNITED STATES of America, Plaintiff-Appellee,v.Alvaro GAMBOA-CANO, Defendant-Appellant.
    No. 74--2652.
    United States Court of Appeals,Fifth Circuit.
    March 31, 1975.
    
      Victor R. Arditti, El Paso, Tex.  (Court-appointed), for defendant-appellant.
      William S. Sessions, U.S. Atty., San Antonio, Tex., Ronald Ederer, Asst. U.S. Atty., El Paso, Tex., for plaintiff-appellee.
      Appeal from the United States District Court for the Western District of Texas.
      Before GEWIN, AINSWORTH and MORGAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      We have considered the several assignments of error by appellant in this case relating to the insufficiency of the evidence to justify the jury's verdict of guilty, to the asserted involuntariness of the defendant's confession, to the conduct of the judge during the trial as having been prejudicial to the defendant, and to the alleged failure of the trial judge to comply with the principle of Dorszynski v. United States, 418 U.S. 424, 94 S.Ct. 3042, 41 L.Ed.2d 855 (1974), relative to the necessity of an explicit finding that defendant would not benefit from sentencing under the Youth Corrections Act.
    
    
      2
      After a careful review of the record, we find the assignments of error to be without merit.  We also hold that since the defendant herein is over the age of 22, a young adult offender, the sentencing judge was not required to make explicit findings that the defendant would not benefit from the Youth Corrections Act (18 U.S.C. § 4209).
    
    
      3
      Affirmed.
    
    